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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

 STATE OF GEORGIA, et. al.,

                       Plaintiffs,

v.                                                     Case No.: 2:15-cv-00079-LGW-BWC

 ANDREW WHEELER, et. al.

                       Defendants


                                     NOTICE OF APPEAL


        Notice is hereby given that Intervenor-Defendants National Wildlife Federation and One

 Hundred Miles appeal to the United States Court of Appeals for the Eleventh Circuit from the

 Order entered in this action on August 21, 2019, Dkt. No. 261, granting Plaintiffs and Intervenor-

 Plaintiffs’ Motions for Summary Judgment, Dkt. Nos. 199 and 203. The appealed summary

 judgment order found that a 2015 regulation defining “waters of the United States” subject to

 Clean Water Act protection was unlawful, and directed, as remedy, that the rule be remanded

 back to the promulgating agencies. On September 12, 2019, the agencies finalized and signed a

 regulation repealing the rule that the district court had remanded to the agencies. The repeal

 regulation should be published in the Federal Register imminently and will become effective 60-

 days after publication, rendering the underlying matter here moot.

        Under Eleventh Circuit precedent, it is uncertain whether the Court’s remand order is a

 final order subject to appeal by Intervenor-Defendants. While remand orders from district courts

 to administrative agencies are typically not final or appealable, MCI Telecomms. Corp. v.

 BellSouth Telecomms. Inc., 298 F.3d 1269, 1271 (11th Cir. 2002), where , as here, “a district


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court simply orders the agency to proceed under a ‘certain legal standard,’ . . . [a] remand order

generally is found appealable . . . because the agency, forced to conform its decision to the

district court’s mandate, cannot appeal its own subsequent order.” Id. (quoting Occidental

Petroleum Corp. v. SEC, 873 F.2d 325, 330 (D.C.Cir.1989)).

       Because the district court has not entered a judgment under Fed. R. Civ. P. 58, it is also

unclear whether Motions for Reconsideration filed by the Plaintiffs toll the time to file an appeal

of the Order under Fed. R. App. P. 4(a)(4)(A)(iv) (tolling the time to file an appeal if party files a

motion to alter or amend the judgment under Fed. R. Civ. P. 59(e)). Given this uncertainty,

Intervenor-Defendants file this notice to preserve their appeal rights in this matter.

       Respectfully submitted this 21st day of October,

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                                                   Wildlife Federation and One Hundred Miles

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                                     CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2019, I electronically filed the foregoing Notice of

Appeal with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the attorneys of record.


                                                  s/ J. Blanding Holman IV

                                                  Counsel for Defendant-Intervenors National
                                                  Wildlife Federation and One Hundred Miles
